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 6i                           UNITED STATES DISTRICT COURT
 7                          CENTRAL DISTRICT OF CALIFORNIA
 8'
        ~ iJNITED STATES OF AMERICA,
 9 '.

10                                    Plaintiff,         CASE NO.
11                           ~.                                      2:21-MJ-05329-DUTY
        JOHNNY RAY JOHNSON
12                                                        ORDER OF DETENTION
13

14                                    Defendant. )
15

16                                                        I.
l7          A.()       On motion ofthe Government in a case allegedly involving:
18               1.()     a crime of violence.
19              2.()      an offense with maximum sentence of life imprisonment or death.
20              3.()      a narcotics or controlled substance offense with maximum sentence
21                        often or more years .
22              4.()      any felony -where the defendant has been convicted oftwo or more
23                        prior offenses described above.
24              5.()      any felony that is not otherwise a crime of violence that involves a
25                        minor victim, or possession or use of a firearm or destructive device
26                        or any other dangerous weapon, or a failure to register under 18
27                        U.S.0 § 2250.
28          B.(~       On motion by the Government /( )on Court's own motion, in a case

                                  ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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 1                     allegedly involving:
 2          (~         On the further allegation by the Government of:
 3            1. (~       a serious risk that the defendant will flee.
 4           2.()         a serious risk that the defendant will:
 5                  a.( )obstruct or attempt to obstruct justice.
 6                  b.( )threaten, injure, or intimidate a prospective witness or juror or
 7                        attempt to do so.
 8       C. The Government()is/(~ is not entitled to a rebuttable presumption that no
 9           condition or combination ofconditions will reasonably assure the defendant's
10           appearance as required and the safety of any person or the community.
11

12                                                     II.
13       A.(~          The Court finds that no condition or combination of conditions will
14                     reasonably assure:
15            1.() the appearance ofthe defendant as required.
16              ()        and/or
17           2. (~        the safety of any person or the community.
18       B.()          The Court finds that the defendant has not rebutted by sufficient
19                     evidence to the contrary the presumption provided by statute.
20

21                                                     III.

22       The Court has considered:
23       A. the nature and circumstances ofthe offenses) charged, including whether the
24           offense is a crime of violence, a Federal crime ofterrorism, or involves a minor
25           victim or a controlled substance, firearm, explosive, or destructive device;
26       B. the weight of evidence against the defendant;
27       C. the history and characteristics ofthe defendant; and
28       D. the nature and seriousness ofthe danger to any person or to the community.

                                ORDER OF DETENTION AFTER HEARING(18 U.S.C. §3142(1))

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 1                                                     IV.
 2       The Court also has considered all the evidence adduced at the hearing and the
 3       arguments and/or           statements      of counsel, and             the     Pretrial   Services
 4       Report/recommendation.
 5

 6                                                      V.
 7       The Court bases the foregoing findings) on the following:
 8       A.()          As to flight risk:
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16       B.(~          As to danger:
17        The arguments raised in government's request for detention and all the reasons stated in the
          November 22, 2021 Pretrial Services Report, which include defendant's significant criminal
18
          history involving two prior convictions for second degree robbery, a conviction for assault
19        with a firearm on a person, a conviction for carrying a loaded firearm, and a conviction for
          grand theft, for which the defendant was sentenced to 6 years' incarceration.
20

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24                                                     VI.

25       A.()          The Court finds that a serious risk exists that the defendant will:
26                  1.()obstruct or attempt to obstruct justice.
27                  2.()attempt to/( )threaten, injure or intimidate a witness or juror.
28

                                ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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          B. The Court bases the foregoing findings) on the following:
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 9                                                  VII.
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11        A. IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
12        B. IT IS FURTHER ORDERED that the defendant be committed to the custody
13            of the Attorney General for confinement in a corrections facility separate, to
14            the extent practicable, from persons awaiting or serving sentences or being
15            held in custody pending appeal.
16        C. IT IS FURTHER ORDERED that the defendant be afforded reasonable
17            opportunity for private consultation with counsel.
 18       D. IT IS FURTHER ORDERED that, on order of a Court ofthe United States
19            or on request of any attorney for the Government, the person in charge ofthe
20            corrections facility in which the defendant is confined deliver the defendant
21            to a United States marshal for the purpose of an appearance in connection
22            with a court proceeding.
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26    DATED: November 22, 2021
                                                  UNITED STATES MAGISTRATE NDGE
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                             ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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